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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Deisy Jaimes, et al.
                               Plaintiff,
v.                                                    Case No.: 1:17−cv−08291
                                                      Honorable Jorge L. Alonso
Cook County, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 17, 2019:


        MINUTE entry before the Honorable Sidney I. Schenkier: We have revised the
parties proposed schedule for production of documents (doc. #[137]) required by the
Court's 5/03/19 order (doc. #[136]). We adopt the proposed schedule. Defendants shall
produce the documents on a rolling basis, with the production to be completed by no later
than 6/07/19. The status hearing with the magistrate judge set for 6/12/19 remains
unchanged. Mailed notice. (jj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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